Roselyn Staples

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262-844-3021

October 10, 2024

The Honorable Pamela Pepper
US District Courts

517 E Wisconsin Ave

Milwaukee, Wisconsin 53202

Re: Vaun Mayes

Your Honor,

My name is Roselyn Staples. | am a retired registered nurse with community health
experience in the City of Milwaukee and a retired pastor having served in a Megachurch for
30 years.

lam writing to provide additional information and provide my perspective and who |
have found Vaun Mayes to be.

| learned of Vaun 7 years ago at about the time of the incidents for which he has
been investigated. This story was of compelling interest to me as 57 years ago | was a new
graduate nurse during the racial riots. | learned then, as | interacted with affected families,
that we all feel the same pain and cry the same tears.

My first encounter with Vaun was at Sherman Park where my church was serving
food. As | listened to Vaun tell of his work | remember saying, “You are doing the work of
Jesus that | should be doing but | am not positioned to do it. | would like to contribute
financially to your work so you can do that which God has clearly directed His people to
do”

Case 2:18-cr-00154-PP Filed 01/13/25 Page1of3 Document 258

Throughout these seven years | have found Vaun to be gracious and to walk with
integrity. | stand in awe of how he has been able to continue with his work, focusing on the
needs of others, while stll being under the pressure of this investigation.

| have appreciated that he has never requested money for himself, but when | have
been able to contribute, he has been a faithful steward of these funds. | have known of
instances where he has been without basic comfort measures while helping them become
available to others.

I’d also like to add my perspective to the charges he now faces. | have often seen
him take videos of disturbing events and make comments but always for the purpose of de-
escalation. His stated purpose for involving himself in incidents is de-escalation.

| so appreciate your careful attention to this case, Your honor. | can’t imagine how
difficult it must be to seek truth in these complex stories. | trust that your decisions will
produce the best possible outcome for Vaun under the principles of the law.

Thank you for taking the time to read this letter. Although | am an 81 Y/O Caucasian |
think of Vaun with the love and attention of a grandchild often signing off to him as Gramma
Roselyn.

Please do not hesitate to contact me if | can be of further assistance or answer any
questions.

Sincerely,

Roselyn Staples

Case 2:18-cr-00154-PP Filed 01/13/25 Page2of3 Document 258
Deniese Redd

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October 14, 2024

The Honorable Pamela Pepper
US District Courts

517 E Wisconsin Ave

Milwaukee, Wisconsin 53202

Re: Vaun Mayes

Your Honor,

My name is Deniese Redd. | am writing on behalf of Vaun Mayes. | would like to add
my experience with him to the information you already have.

| have found Vaun to be very kind and generous. I’ve seen him serving the
community ,especially those devoid of any resources. He is quick to address issues of
protentional conflict as his goal is to de escalate rising tensions.

Vaun has cared passionately for his own children as well as the children of the
community. This is beautiful in that he has not had a childhood of protection for himself.

Thank you for your attention to this case. | am confident you will act in Vaun’s best
interest and for that | am grateful.

Sincerely,

Deniese Redd

Case 2:18-cr-00154-PP Filed 01/13/25 Page3of3 Document 258

